ease 2:03-cr-20327-STA Documem 38 Filed 03/29/05 Page 1 of-’B_E|§’@$P'@§§N COURT

DATE=M

IN THE UNITED STATES DISTRICT COURT TlME: 4.' 5 46 m
FoR THE WESTERN DIsTRICT oF TENNESSE

WESTERN DIVISIoN FN'T'ALS:`-£L_

UNITED STATES OF AMERICA,

Plaintiff,
VS. NO: 2:03cr20327
TONY SEA,

Defendant.

 

CONSENT ORDER ALLOWING SUBSTITUTION OF COUNSEL

 

This Cause came to be heard upon motion of Defendant to allow him to substitute with
his present attorney, Sheila D. Brown, with attorney, Craig V. Morton. lt is the opinion of this
Court, based upon said motion and the consent of all individuals involved that attomey Craig V.
Morton is allowed to substitute with Defendant’s present attorncy, Sheila D. Brown.

lt ls Therefore Considered, Adjudged and Decreed that attorney Craig V. Morton is

allowed to substitute as Defendant’S attorney in this cause of action with Defendant’s present

attorney Sheila D. Brown. j :

Jdg J. Daniel Breen

UA‘\msj\?-:l. 1901

Date

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Case 2:03-cr-20327-STA Document 88 Filed 08/29/05 Page 2 of 3 Page|D 87

Approved F or Entry:

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"Sheila D. Brown
Attorney At Law
9160 Hwy. 64
Lakeland, TN 38002
(901) 849-3274

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Stephen Hall

Assistant U.S. Attorney
800 Federal Bldg.

167 N. Main

Memphis, TN 3 8103
(901) 544-4231

./"/MM/O

Craig V. Morton
Attorney For Defendant
200 Jefferson, Ste. 725
Memphis, TN 38103
(901) 522-0050

   

UNITED sTATE DISTRIC COUR - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 88 in
case 2:03-CR-20327 was distributed by faX, mail, or direct printing on
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Sheila D. Brown

LAW OFFICE OF SHEILA D. BROWN
9 l 60 Highway 64

Ste. l2

Lakeland7 TN 38002

Craig V. Morton
MORTON & GERMANY
200 Jefferson Ave.

Ste. 725

l\/lemphis7 TN 38103

Sheila D. Brown

LAW OFFICE OF SHEILA D. BROWN
9 l 60 Highway 64

Ste. l2

Lakeland7 TN 38002

Jennifer Lawrence Webber
U.S. ATTORNEY'S OFFICE
l67 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Jennifer Lawrence Webber
U.S. ATTORNEY'S OFFICE
l67 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

